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                          THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 11-cv-01611-MSK-CBS

   WESTERN CONVENIENCE STORES, INC., a Colorado corporation;
   WESTERN TRUCK ONE, LLC, a Colorado limited liability company,

          Plaintiffs/Counter Defendants,

   v.

   SUNCOR ENERGY (U.S.A.), INC. a Delaware corporation,

          Defendant/Counter Claimant/Third-Party Plaintiff,

   v.

   HOSSEIN AND DEBRA LYNN TARAGHI,

          Third-Party Defendants.


   ______________________________________________________________________

       DECLARATION OF JOHN PHILLIPS PUGH PURSUANT TO 28 U.S.C. § 1746
                               (“DECLARATION”)
    ______________________________________________________________________


          1.     My name is John Phillips Pugh. I am employed as an Investigator in the

   Law Department of The Kroger Co. (“Kroger”). Dillon Companies Inc., a/k/a King

   Soopers (“Dillon”), is a subsidiary of Kroger. Loaf ‘N Jug Inc. is a DBA of Mini Mart Inc.

   which is a subsidiary of Dillon Companies Inc. I have been in my current position for

   approximately thirty-three years.

          2.     My duties as an Investigator include responding to subpoenas, assisting

   with document production, and privilege review on behalf of the Kroger Law



                                                                EXHIBIT B
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   Department. I consulted with the Kroger departments responsible for fuel operations,

   systems and accounting in preparation for this Declaration.

          3.      I have reviewed the Subpoena to Produce Documents, Information Or

   Objects Or to Permit Inspection of Premises in a Civil Action issued by Plaintiffs

   Western Convenience Stores, Inc. and Western Truck One, LLC in this matter dated

   April 26, 2012 (“Subpoena”) (Exhibit A).

          4.      My Declaration addresses request numbers 2, 3, 5, 6, 7, 8, and 9 of the

   Subpoena. Dillon is unable to produce some of this information to Plaintiffs on or before

   September 17, 2012 for the reasons stated below.

          Request No. 2 (E-mails Related to Discounts)

          5.      Kroger’s Policy for E-mail Retention Archiving and Quota Management is

   attached as Exhibit B-1. Each Kroger employee has a “Keep-It” folder. Placing an e-

   mail in the “Keep-It” folder allows an employee to avoid losing that e-mail through the

   automatic purging process. When Kroger issues a litigation hold, employees are

   instructed to review their electronic mailboxes for correspondence that may be

   implicated by the pending litigation. Employees preserve that correspondence by

   placing it in their “Keep-It” folders.

          6.      Kroger does not have advanced eDiscovery tools. This means that e-mails

   are searchable only through the Microsoft Outlook tool and today can only be searched

   one personal storage table (“PST”) file at a time. Because (A) only one search term can

   be employed at a time and the resulting selected e-mails must be manually reviewed

   (B) the Microsoft Outlook search tool is not fully reliable and (C) the Microsoft Outlook


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   search tool does not conduct a forensic search and will not search, preserve, or

   produce metadata.

          7.     In order to conduct more advanced searches a third party contractor

   would have to be engaged. Kroger would have to obtain a specific estimate from a third

   party contractor to conduct the search. Before a search can be performed by a third

   party contractor, Kroger would need to locate the contractor, have them vetted, and

   approved by Kroger’s Corporate Information Security department.

          8.     Kroger would conduct a search using the Microsoft Outlook search tool of

   the PST files of four custodians of documents at Kroger for e-mails between Dillon and

   Suncor between 1/1/2009 and 5/31/2011 which contain any of following search terms:

   “rebate(s), discount(s), off-invoice, kickback(s), credit(s) or allowance(s).” Kroger would

   require a complete list of all potential authors or recipients at Suncor from Plaintiffs to

   conduct this search. Assuming Kroger receives same on or before August 31, 2012,

   then Kroger would make its best efforts to complete this search and produce the results

   of same to Plaintiffs’ counsel on or before September 17, 2012. However, if Kroger

   does not receive this information, then it may require additional time to produce these

   documents.

          Request No. 3 (E-mails Related to WCS)

          9.     Request No. 3 is subject to the same limitations as set forth in my

   response to Request No. 2 above. Kroger would conduct a search using the Microsoft

   Outlook search tool of the PST files of four custodians of documents at Kroger for e-

   mails between Dillon and Suncor between 1/1/2009 and 5/31/2011 which contain any of


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   following search terms: “Western Convenience Stores, Western Convenience, Western,

   WCS, Hossein, Taraghi, Wehrle.”

          10.    Using the search term “Western” may result in a large number of

   documents which may delay the search.

          Request Nos. 5 & 6 (Invoices Showing Net Price; Invoices Showing Discounts)

          11.    After Kroger receives any such documents from its systems or accounting

   departments in pdf format, the documents would need to be reviewed for privilege and

   trade secrets and redact any privileged or trade secret information. Kroger anticipates

   that any such document production would be several thousand pages. Depending on

   the format and the volume of these documents, review and redaction of the documents

   will take an extended period of time that is impossible to estimate. The Kroger Law

   Department does not have adequate resources or staff to conduct this procedure and it

   would mostly likely need to hire third party services for same.

          Request No. 7 (Credit Card Nos. and Zip Codes)

          12.    Upon information and belief, Kroger does not have any information or

   documents that will identify customers by both zip code and the last four digits of the

   customer’s credit or debit card number for fuel purchases. However, Kroger is

   continuing to investigate whether this information may be available.

          Request No. 8 (Daily Pump Prices)

          13.    Upon information and belief, Dillon does not have daily pump price for

   convenience stores owned by Kroger, including without limitation, Loaf N’ Jug.




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   Kroger has limited information regarding the daily pump price for Kroger operated

   supermarkets fuel centers.

          Request No. 9 (Fuel Price Surveys)

          14.    Upon information and belief, Dillon does not have fuel price survey

   information for convenience stores owned by Kroger, including without limitation, Loaf

   N’ Jug. Any available information would be very limited and unreliable.

          15.    Kroger has fuel price survey information for Kroger operated supermarket

   fuel centers. Kroger would attempt to produce such information on or before September

   17, 2012 to the extent it is able to do so, subject to the Court’s Orders, applicable

   privileges, and trade secrets.

          16.    Kroger respectfully requests that the Court require the Plaintiffs to

   reimburse Kroger for all costs, fees, and expenses incurred in responding to the

   Subpoena pursuant to Kroger’s document production policies and procedures. See

   Exhibit B-2, Kroger Law Department Third Party Subpoena Fee Schedule.

          17.    My Declaration does not address whether the information requested by

   the Subpoena is privileged, work product, or trade secrets.

          18.    Capitalized terms not defined herein have the same meaning as set forth

   in the Subpoena.

          19.    I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

   foregoing is true and correct.




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         Executed on this 27th day of August, 2012.




                                                 s/ John Phillips Pugh

                                                 ________________________________

                                                 JOHN PHILLIPS PUGH




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